           Case 3:20-cr-00126-VC           Document 45-1       Filed 05/11/21       Page 1 of 29



 1   GEOFFREY A. HANSEN
     Acting Federal Public Defender
 2   Northern District of California
     ANGELA M. HANSEN
 3   Assistant Federal Public Defender
     13th Floor Federal Building - Suite 1350N
 4
     1301 Clay Street
 5   Oakland, CA 94612
     Telephone: (510) 637-3500
 6   Facsimile: (510) 637-3507
     Email:       Angela_Hansen@fd.org
 7

 8   Counsel for Defendant HARTMAN
 9

10                                   IN THE UNITED STATES DISTRICT COURT
11                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                         SAN FRANCISCO DIVISION
13

14    UNITED STATES OF AMERICA,                              Case No.: CR 20–126 VC
15                      Plaintiff,                           INDEX TO EXHIBITS FILED IN
                                                             SUPPORT OF DEFENDANT’S
16            v.                                             SENTENCING MEMORANDUM
17    RICHARD HARTMAN,
18                      Defendant.
19

20         Exhibit A:        Letter from Richard Hartman accepting responsibility for the offense

21         Exhibit B:        Resume of Jeremy Coles, Ph.D.

22         Exhibit C:        Letter from Elaine Kay (Mr. Hartman’s mother)
23         Exhibit D:        Letter from Scott Lathe (Mr. Hartman’s half-brother)
24
           Exhibit E:        Letter from Bill Kay (Mr. Hartman’s step-father)
25
           Exhibit F:        Letter from Warren Lathe (Mr. Hartman’s half-brother)
26
           Exhibit G:        Letter from James Lathe (Mr. Hartman’s half-brother)
27

28         Exhibit H:        Letter from Richard Hartman regarding his treatment program

     INDEX TO EXHIBITS FILED IN SUPPORT OF DEFENDANT'S SENTENCING MEMORANDUM
     HARTMAN, CR 20–126 VC
                                                         1
           Case 3:20-cr-00126-VC         Document 45-1          Filed 05/11/21    Page 2 of 29



 1

 2

 3        Dated:     May 11, 2021                            Respectfully submitted,

 4                                                           GEOFFREY A. HANSEN
                                                             Acting Federal Public Defender
 5                                                           Northern District of California
 6                                                                     /S/
                                                             ANGELA M. HANSEN
 7
                                                             Assistant Federal Public Defender
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     INDEX TO EXHIBITS FILED IN SUPPORT OF DEFENDANT'S SENTENCING MEMORANDUM
     HARTMAN, CR 20–126 VC
                                                         2
     Case 3:20-cr-00126-VC          Document 45-1   Filed 05/11/21   Page 3 of 29




                                          EXHIBIT A
                                                    EXHIBITS IN SUPPORT OF
                                                    DEFENDANT’S SENTENCING
                                                    MEMORANDUM




DEFENDANT'S SENTENCING MEMORANDUM
EXH., HARTMAN, CR 20–126 VC
       Case 3:20-cr-00126-VC              Document 45-1            Filed 05/11/21        Page 4 of 29



Dear Your Honor,

I am not sure how to even begin this letter. I know that the most important thing to me, personally, in
writing it is to at least try and convey the more-than-remorse I feel at my actions. Actions both
shocking and disturbing. At the same time, those feelings are not a static thing. They have changed
and evolved, and I think it is important to, as best I can, give some sense of that evolution.

Rather than try to re-create through words what that remorse felt like at its most intense, I would like to
share my description of it at the time I was feeling it, through a letter that I wrote to my family:

"I imagine shame as an intensely bright light shining onto a stage I'm standing on, with a world's worth
of eyes judging what is seen. The light is blinding, so I can't see past the stage itself and all I can do is curl
up and wait for the light to turn off. That is shame though, which implies external observation. Take that
same light and put it into a small room. This time there is no external audience, instead the light, the
person being judged and the harsh vision of the one doing the judging are all the same, and there is no
hope for the light turning off. This is what this is for me. The problem is that it is too intense for me to
do anything with it."

That intensity never faded, but --through tools I talk about in another letter to the Court-- I have found
ways to work with it, to grow, and to more clearly understand why it is so intense, which means looking
more honestly look at what I have done.

I participated in the horrific victimization of children. To be honest, that is not how I worded it, or
thought about it, to myself at the time of my arrest. There was an immense amount of self-disgust and
even self-hatred, but there was also an unhealthy dose of self-deception that contradicted those
appraisals of myself. That self-disgust arose from a recognition at some level that that is what I had
done, but I wasn't capable of seeing that honestly. Instead, I framed it to myself as--and I'm ashamed to
say it--"looking at pictures that have nothing to do with me."

That was a lie to myself. Beyond the legalistic "creating a market" argument, in a very real way the
abuse in those materials was re-created with every one of my downloads. Understanding it this way
doesn't allow me to sanitize what I had participated in as one category of "pornography" among many, it
makes the self-deception that much harder to maintain. When I think about what I have done, now, that
is the language I use in my own thoughts.

Part of coming to terms with my own guilt has been trying to understand what it must be like for those
victims. Again, in a very real way, it is not just images being propagated, but their victimization being
re-created over and over. I look at my own feelings as described in that letter and understand that this
must be a tiny fraction of what those victims feel when they think about their abuse being played and
replayed all over the world, to eyes that they will never see and to people who could be the person
standing next to them in line at the grocery store, or their classmates, or colleagues or the stranger
offering them a smile on the street. After my arrest, I cringed at eye contact with strangers. I can't
imagine what it like for them, I can only regret that I helped create a world where they have to feel that.
       Case 3:20-cr-00126-VC             Document 45-1           Filed 05/11/21        Page 5 of 29



Beyond that, I also betrayed my family, in more ways than one. They have a stake in who I am as a
person. My mom, my step dad and my brothers all raised me. To have them see the brother and son
they raised in this light is and has been painful, for everyone. At the same time, it's damaged trust not
just in me but in my family as a whole. This shook the very ground of our family relationships, bringing
doubt where there was none before, doubt that's more fundamental than just having to re-evaluate me
as the person they thought they knew, but doubt about the family we all thought we had. Getting over
my own shame enough to help heal at least some of that has been painful, but necessary. There have, of
course, been many painful discussions.

There is a lot of talk in therapy and other forms of self-reflection about self-forgiveness. I never liked or
understood the concept. Forgiveness, it seemed to me, necessarily implied a giving of something to
another. Anyone in the world can forgive a person except themselves is the way I thought of it. My
thoughts on that have changed.

If I could look at myself and my actions with sufficient clarity to know the causes of those actions and
see the person who committed them as a different person because those causes had been addressed
and the person fundamentally changed, I would be able to forgive that person. In fact, I think, now, that
that is a necessary step in that change. Truthfully, I am not there yet, but I am working earnestly to get
there. Taking responsibility for my acts, understanding them more clearly, accepting the consequences
of them and participating in that entire process by formally acknowledging that responsibility through
my guilty plea--rather than just some step in a sterile legal process-- is all a part of that.

Another part of that is looking at why I did what I did. That has and continues to be an excruciating
process. I am not now and have never been sexually attracted to children. That doesn't answer anything
though, that just makes it harder to see what was actually going on. I've come to realize that it was a
form of self-destruction.

It was some equivalent of physical self-harm: turning experiences and emotions I didn't know how to
deal with onto myself, turning myself into an object of self-loathing, because that was at least a solid
thing I could diminish. That self-loathing wasn't a side effect, it was itself the purpose of my actions that
led me to become obsessed with online games, pornography and politics. I didn't know how to work
through and rid myself of a lot of negative feelings and thoughts and patterns, so I turned myself into a
sort of stand-in for those things.

I say that not to excuse or minimize my acts, but hopefully to show that my understanding of what my
acts has evolved and continues to evolve. Because of that evolution and because of the tools I've
worked diligently to find, I know that those acts are firmly in the past. It doesn't change the fact that I
need to face consequences for them, but it does mean that I would never again re-commit them.

Of course, that is only part of the reality I'm now facing. The other part is what life looks like going
forward. The truth is, I don't know. But I would like to share what I do know.

When I was first arrested, it seemed my life was over. That is not true. What is true, though, is that a life
is over. I have lost a flourishing career, a professional network of lawyers and judges, and close friends.
       Case 3:20-cr-00126-VC             Document 45-1          Filed 05/11/21        Page 6 of 29



I have to rebuild. I can't in any honesty say what that rebuilding looks like because even the immediate
future isn't clear and isn't under my control.

What is within my control though is what that life's grounding is. I know my life previously didn't reflect
my values. To be blunt, I didn't know myself well enough to even understand what those values truly
were. I did very well in law school, and because of that I was sort of gifted the professional path I was
on. It was not something I sought out, I just sort of went with the flow. That is, actually, a lot of my life
previously: successes that didn't feel like they were mine because I wasn't invested in them. That
aimless dissatisfaction added to a cycle of depression whose end point was my self-imposed isolation,
my internet obsession, my crime and my subsequent arrest.

Beyond the "internal" work I have been doing since my arrest, I am taking steps to make sure that my
external reality also changes and affirms and reinforces the internal changes I'm making. I truly believe I
have some unique abilities that can contribute to both the people in my life and society as a whole. I see
it already in the organizations I've become involved with since my incarceration.

One of those abilities is teaching. At the same time, I know that part of maintaining my mental health is
staying engaged and connected directly with people, something my previous career as a legal tax analyst
didn't emphasize. Finally, I know that pragmatically this conviction will drastically restrict the options
available to me. Taking all of this into account, I am in the process of being certified as a personal
trainer, a certification that hopefully will be complete by the time of my sentencing.

I know the future will be difficult because of my own actions, but I also know I am better equipped now
to deal with that difficulty than at any point in my past.

I express all of this not only to give the Court a glimpse of me as a person, a glimpse of how seriously I
take my actions and a glimpse of what I am doing to make of myself a better human being, but also in
hopes that the Court takes into account the potential of that person in sentencing me.

Respectfully,

Richard Hartman
     Case 3:20-cr-00126-VC          Document 45-1   Filed 05/11/21   Page 7 of 29




                                          EXHIBIT B
                                                    EXHIBITS IN SUPPORT OF
                                                    DEFENDANT’S SENTENCING
                                                    MEMORANDUM




DEFENDANT'S SENTENCING MEMORANDUM
EXH., HARTMAN, CR 20–126 VC
     Case 3:20-cr-00126-VC    Document 45-1    Filed 05/11/21   Page 8 of 29




                                                        jeremybcoles@gmail.com
                                                        4096 Piedmont Ave # 325
                                                        Oakland, California 94611
                                                        Phone: 510-339-6733




Jeremy Coles, Ph.D. Licensed Clinical and Forensic Psychologist
                                  PSY15992


EDUCATION
September 1998
Licensed Clinical Psychologist
1992–1996 The Wright Institute Berkeley, CA- APA accredited

Ph.D- Doctorate of Philosophy in Clinical Psychology
Dissertation Topic: Personality Correlates of Coronary Prone Behavior in a
High Risk Population.

1982–1987 Rutgers University New Brunswick, NJ - Bachelor of Arts in
Political Science; Minor, Psychology.


CLINICAL WORK EXPERIENCE

09/1996- present
Private Practice

Psychodiagnostic testing of children and adults. Conducted over 1500
evaluations including violence risk assessments, diagnostic assessments,
competency evaluations, and not guilty by reason of insanity evaluations in
hospital and forensic settings. I have testified in over 100 court cases in the
State of California.
02/2005- present
Qualified Medical Examiner CA

Psychological Evaluations of individuals filing Worker ’s Compensation Claims
in the State of California. Evaluations include full psychological work ups,
extensive psychological testing, and comprehensive record reviews.
     Case 3:20-cr-00126-VC    Document 45-1    Filed 05/11/21   Page 9 of 29




07/2012- present
California Department of State Hospitals Sexually Violent Predator
Evaluator
Psychological Evaluations of individuals who are determined to potentially
meet the criteria as a sexually violent predator. These evaluations consist of an
extensive record review, a clinical interview and written reports. This work also
includes testifying in cases that go to trial.
2004-present
Alameda County Alienist Panel

Psychological Evaluations ordered to assess matters related to PC1026,
PC1368, and PC288.1 Evaluations include interviews with the inmate, lawyers
and other relevant individuals. Evaluations also include a document review and
testing as needed for malingering, psychopathology, cognitive functioning and
competency.

2015- Present
Alameda County Murphy Conservatorship Panel

Psychological Evaluations of individuals who are being considered for Murphy
Conservatorship. Evaluations include interviewed with the inmate, review of
records, clinical assessment of underlying severe mental disorder, competency
evaluation and violence risk assessment.
10/2014-present
Contra Costa County Alienist Panel

Psychological Evaluations ordered to assess matters related to PC1026,
PC1368, and PC288.1 Evaluations include interviews with the inmate, lawyers
and other relevant individuals. Evaluations also include a document review and
testing as needed for malingering, psychopathology, cognitive functioning and
competency.

04/2016-present
San Mateo County Alienist Panel

Psychological Evaluations ordered to assess matters related to PC1026,
PC1368, and PC288.1 Evaluations include interviews with the inmate, lawyers
and other relevant individuals. Evaluations also include a document review and
testing as needed for malingering, psychopathology, cognitive functioning and
competency.
     Case 3:20-cr-00126-VC     Document 45-1     Filed 05/11/21   Page 10 of 29




04/2016-present
San Francisco County Alienist Panel

Psychological Evaluations ordered to assess matters related to PC1026,
PC1368, and PC288.1 Evaluations include interviews with the inmate, lawyers
and other relevant individuals. Evaluations also include a document review and
testing as needed for malingering, psychopathology, cognitive functioning and
competency.
09/2001-2010
California Forensic Assessment Project CA

Conditional Release Program- Full Psychological Evaluations of
individuals who are currently involved in the California Conditional
Release Program. These evaluations involve risk assessment,
diagnostic assessment and treatment planning issues.
05/2002- 2016
US Pretrial Services CA

 Psychological Evaluations of individuals facing criminal charges. These
evaluations include competency evaluations, drug treatment amenability
evaluations and comprehensive psychological evaluations.
09/2004- 07/2012
Mentally Disordered Offenders Panel CA
Psychological Evaluations of incarcerated individuals who are being
considered for Mentally Disordered Offender Status. These evaluations
include cognitive screening, historical record review, a clinical interview
and written reports.


02/2002- 07/2012
Sexually Violent Predator Panel CA
Psychological Evaluations of individuals who are determined to
potentially meet the criteria as a sexually violent predator. These
evaluations consist of an extensive record review, administration of the
Hare Psychopathy Checklist, a clinical interview and written reports. This
work also includes testifying in cases that go to trial.
05/2000- 09/2008
602 Alienist Panel, S.F. Juvenile Court SF, CA
Court ordered psychodiagnostic testing and evaluations of juveniles in
the custody of the court. Evaluations involved disposition questions as
well as competency determinations.
     Case 3:20-cr-00126-VC    Document 45-1     Filed 05/11/21   Page 11 of 29




07/1997-07/1998

Psychological Assistantship Oakland, CA

Provide individual psychodynamic therapy to adults and children with
personality, adjustment and affective disorders. Psychodiagnostic testing of
adults.

07/1995 – 07/1997 UCSF/Mt. Zion Dept. of Psychiatry S.F, CA

Psychology Intern-Provide individual psychodynamic therapy to adults with a
broad range of psychiatric diagnoses. Psychodiagnostic testing.

Participation in a broad range of educational and training conferences.

Assessment Trainee-Psychological assessment of adult patients in an
outpatient day program for chronically disturbed individuals. Full battery write-
ups and case conference presentations for each client tested.
09/1993- 08/1994 Wright Institute Berkeley, CA
Practicum Trainee

Provided individual therapy to adults with personality and affective disorders.
Intakes of prospective clients including full clinical interview, mental status
examination and intake reports.

Participation in case conferences and individual supervision.

CONTINUING EDUCATION
Sept 1999 Family Violence and Sexual Assault Institute CA


Domestic Violence Training Program: Practical Applications for Custody
Evaluations. (14 hours)


Sept 1999 California School for Professional Psychology

Forensic Neuropsychology- Evaluation of Criminals (8 hours)
Case 3:20-cr-00126-VC   Document 45-1   Filed 05/11/21   Page 12 of 29
    Case 3:20-cr-00126-VC       Document 45-1   Filed 05/11/21   Page 13 of 29




                                      EXHIBIT C
                                                EXHIBITS IN SUPPORT OF
                                                DEFENDANT’S SENTENCING
                                                MEMORANDUM




DEFENDANT'S SENTENCING MEMORANDUM
EXH., HARTMAN, CR 20–126 VC
Case 3:20-cr-00126-VC   Document 45-1   Filed 05/11/21   Page 14 of 29
Case 3:20-cr-00126-VC   Document 45-1   Filed 05/11/21   Page 15 of 29
Case 3:20-cr-00126-VC   Document 45-1   Filed 05/11/21   Page 16 of 29
    Case 3:20-cr-00126-VC       Document 45-1   Filed 05/11/21   Page 17 of 29




                                      EXHIBIT D
                                                EXHIBITS IN SUPPORT OF
                                                DEFENDANT’S SENTENCING
                                                MEMORANDUM




DEFENDANT'S SENTENCING MEMORANDUM
EXH., HARTMAN, CR 20–126 VC
      Case 3:20-cr-00126-VC             Document 45-1          Filed 05/11/21       Page 18 of 29




January 30, 2021



Dear Your Honor,



I am the youngest of Richard Hartman’s (Rick) three half-brothers: nine year’s older than Rick. It is a
challenge knowing of his crime while at the same time choosing to continue to have a relationship with
him. I currently choose to have a relationship with him for a few reasons.

I have had many long, in depth, and what I believe, honest conversations with him throughout our lives
and quite a few since he was arrested. I believe he is aware of what he did, that he is genuinely
remorseful, and he is earnestly trying to create a new life and a new meaning for him to live his life. I do
not believe he will reoffend. And I know he would never physically harm another.

I have struggled with bouts of depression throughout my life. That depression has enabled me to
somewhat understand Rick’s much more severe clinical depression, which we have discussed many
times throughout the years. In the 1990’s, while I was living in Seattle and he was in Arizona, I found out
that no one could get a hold of him for weeks. I could not get a hold of him either. I chose to fly down
to Arizona. I found him in his two-room apartment, filled knee high with pizza boxes, coke cans, and
cigarette butts. No alcohol, no drugs, just severe depression that kept him from leaving the house for
weeks (months?). I helped him clean up, better furnish the apartment, and spent time with him so that
he would get the help he needed (which he did).

I can understand that his self-destructive behavior and severe depression affects most of the rest of his
life. It doesn’t explain or forgive what he has done--nothing ever can. But I do know that he is
devastated because of what he has done. I have chosen to continue to have a relationship with him
because of what I know of the rest of him. He will be paying for his crime the rest of his life. And he is,
and I believe always will be, working to compensate for his actions.



Respectfully,

Scott Lathe
    Case 3:20-cr-00126-VC       Document 45-1   Filed 05/11/21   Page 19 of 29




                                      EXHIBIT E
                                                EXHIBITS IN SUPPORT OF
                                                DEFENDANT’S SENTENCING
                                                MEMORANDUM




DEFENDANT'S SENTENCING MEMORANDUM
EXH., HARTMAN, CR 20–126 VC
Case 3:20-cr-00126-VC   Document 45-1   Filed 05/11/21   Page 20 of 29
    Case 3:20-cr-00126-VC       Document 45-1   Filed 05/11/21   Page 21 of 29




                                      EXHIBIT F
                                                EXHIBITS IN SUPPORT OF
                                                DEFENDANT’S SENTENCING
                                                MEMORANDUM




DEFENDANT'S SENTENCING MEMORANDUM
EXH., HARTMAN, CR 20–126 VC
      Case 3:20-cr-00126-VC          Document 45-1        Filed 05/11/21      Page 22 of 29




Dear Your Honor,

Richard Hartman is my youngest brother, I am the oldest of four.

Rick has always suffered from depressive moods over the decades and, during the period in
question for which he has been arrested and facing consequences, was definitely a bad one. I
can attest to that based on my interactions with him (which were much reduced because he
was avoiding contact with many at the time. Also, after his arrest, I helped my step-father clean
his apartment. I cannot describe how horribly filthy it was and the disarray and disrepair. It was
bad enough that I refused to enter the bathroom. This absolutely does not minimize or excuse
his actions. I am still having a very difficult time reconciling his actions with what I know of him.
Hearing the news shocked me to my core and was one of the worst possible news I could have
heard. He definitely needs help and whatever consequences the court deems necessary.

He has shown deep remorse to me and our family and understands the gravity of the situation
as he has expressed it sincerely to me many times over the last year. I can only say, whatever
the consequences and future holds, his parents and brothers will be there to support him in
whatever he needs to rectify this and his life

Respectfully yours,

Warren C. Lathe III
    Case 3:20-cr-00126-VC       Document 45-1   Filed 05/11/21   Page 23 of 29




                                      EXHIBIT G
                                                EXHIBITS IN SUPPORT OF
                                                DEFENDANT’S SENTENCING
                                                MEMORANDUM




DEFENDANT'S SENTENCING MEMORANDUM
EXH., HARTMAN, CR 20–126 VC
     Case 3:20-cr-00126-VC              Document 45-1   Filed 05/11/21     Page 24 of 29


From:           James Lathe
To:             Angela Hansen
Subject:        Richard Hartman
Date:           Sunday, January 31, 2021 5:56:18 PM


Dear Your Honor,

This letter is concerning my brother Richard Hartman.
Rick is 12 years younger than I am. I wasn't around much during his early years growing up.
But during our lives I have gotten to know him quit well.
I know that he has been there for me many times during our lives.
Years ago, I got divorced and got custody of my 3 children. The 4 months after the divorce
was very difficult and Rick dropped everything to come help us out. During this time he
watched my children while I was at work. There was never any issues and my kids still love
and respect him. He did a great job and my kids loved him being there. And I don't know what
I would have done without him.
Less then 2 years ago I lost my daughter. She battled for 3 months before she died. Rick was
there for her and I, in many ways, more than any other family member.
I can not address his offenses directly but to say that I have never felt uneasy leaving my kids
with him and I still feel the same about leaving my grandchildren with him today.

Respectfully,
James Thomas Martinez-Lathe
    Case 3:20-cr-00126-VC       Document 45-1   Filed 05/11/21   Page 25 of 29




                                      EXHIBIT H
                                                EXHIBITS IN SUPPORT OF
                                                DEFENDANT’S SENTENCING
                                                MEMORANDUM




DEFENDANT'S SENTENCING MEMORANDUM
EXH., HARTMAN, CR 20–126 VC
      Case 3:20-cr-00126-VC             Document 45-1           Filed 05/11/21        Page 26 of 29



Dear Your Honor,

I have started and stopped and erased and re-written this letter several times. I had hoped to keep it
relatively short and to the point. Speaking about what steps I've taken to address the issues that
underlie what led to these serious charges and my incarceration, however, doesn't mean much without
context. So, I hope here to do several things: give some emotional context to the steps I'm taking to
address those issues, describe how those steps directly impact that context, and to demonstrate that my
commitment to my own mental health is both real and newly found.

Soon after I was arrested, I was incarcerated in the San Mateo county jail. That incarceration lasted for
seven months, and ended only when federal charges were filed. That was seven months with little to do
but look intensely at my charges, myself, my life and what had brought me from a successful and
flourishing career to being locked in a cell with a convicted serial rapist, wearing underwear that wasn't
my own and not being able to enjoy even an hour under any light but the artificial light of the jail.

After the numbing shock eased enough, I wrote to my brother, Scott. He is the person that I called after
the arrest, to let him know what was happening and what I had done. I share what I wrote to him here
because it arose in the moment and expresses my emotional and mental state more clearly than trying
to re-create it. It is significant in this context because being in that mental state is both what led me to
seek help and served as a sort of touchstone for knowing if the help was actually help and not a fig leaf.

In the letter, I spoke of the remorse I felt, and what at the time felt like a loss of anything that could be
called a life. The inability to deal with those thoughts and feelings in any constructive way struck me as a
pattern that I only then really saw clearly:

        ...the problem is that it is too intense for me to do anything with it: It burns every time I touch it.
        So it gets walled off, to be examined for a moment when I think I can, then put down again
        without really understanding it because the blisters are already forming. I don't think I ever
        learned to do anything with truly painful thoughts other than wall them off. The problem is that
        means they never get understood, and so never lose their ability to burn, and also never teach
        me anything.

        Anyway, that's what I've spent a lot of time looking at, thinking that may be where I need to
        start and where I should look at learning how to better function....

When I was in college, I had the amazing fortune to study directly with a well known Buddhist teacher
on a several week retreat, as part of my major (philosophy.) At the time I was more interested in the
concepts than the religion or the practice. But, sitting in that cell, with those thoughts and the intensity
of everything I was feeling, the simple meditation practices she taught came back to me.

I cannot over emphasize how helpful that was in those days. I was on my own and working from vague
memories of the meditation practices she discussed, but it became a daily practice for me, and one that
helped me begin to untangle a lot of both my current situation and my past, and finally be able to simply
acknowledge things I had never let myself even look at before, like being a victim of sexual abuse when I
      Case 3:20-cr-00126-VC             Document 45-1          Filed 05/11/21        Page 27 of 29



was very young. That practice became more directed and focused when I was allowed to pursue it
outside of confinement, which I will discuss below.

During this same time, a "class" was offered by San Mateo County, presented by the Enneagram Prison
Project. That program is one approved by the state of California as a way to combat recidivism. Their
own description of their work and purpose is:

        "Rehabilitation happens from the inside out. With the Enneagram as a map, the incarcerated
        have a chance to see and understand the thought processes, emotional drives, and behaviors
        that drove them to incarceration. With the guidance of Enneagram Prison Project's caring
        teachers and progressive curriculum, these men and women can begin to make different
        choices, transforming the often unconscious drives that contributed to their incarceration and
        ongoing struggles."

Putting it into my own words, the Enneagram offers a sort of grid that you can overlay on your
personality and behavior patterns, finding enough correspondences to give you one of nine personality
and pattern types to serve as a model. That model can then be used to better understand those
patterns and begin to change them.

The class met once a week, with homework in between, which homework included intensive exercises
in self-reflection. To be honest, I originally took the class just to get out of the cell. The third class,
however, I came across a description of how one of the personality types started spiraling into
progressively more unhealthy spaces. That pattern described, all too well, what my internal life looked
like in the timeframe leading up to my arrest.

I share that description here in hopes that the parallels with my situation --as disclosed in other
sources-- is clear, so that the impact of reading what came across almost as a self-description is also
clear ("levels" are a way to sort of put healthy and unhealthy patterns for specific types onto a
continuum):

        Level 5: Increasingly detached as they become involved with complicated ideas or imaginary
        worlds. Become preoccupied with their visions and interpretations rather than reality. Are
        fascinated by off-beat, esoteric subjects, even those involving dark and disturbing elements.
        Detached from the practical world, a "disembodied mind," although high-strung and intense.

        Level 6: Begin to take an antagonistic stance toward anything which would interfere with their
        inner world and personal vision. Become provocative and abrasive, with intentionally extreme
        and radical views. Cynical and argumentative.

        Level 7: Become reclusive and isolated from reality, eccentric and nihilistic. Highly unstable and
        fearful of aggressions: they reject and repulse others and all social attachments.

        Level 8: Get obsessed yet frightened by their threatening ideas, becoming horrified, delirious,
        and prey to gross distortions and phobias.
       Case 3:20-cr-00126-VC            Document 45-1          Filed 05/11/21        Page 28 of 29



The increasing isolation, detachment from anything but mental worlds and everything else put words to
a pattern that I had experienced my entire life. A pattern that had been at its worst and most acute in
the time leading up to my arrest, a time during which my actions gave rise to the charges in this case.

That pattern had been labeled previously as "depression," but that single word didn't offer any tools or
ways to directly recognize and therefore change those patterns. Here, for the first time, was something
that seemed to be addressing me specifically. I started attending the classes with honest engagement
and started doing the homework assignments earnestly.

I was unable to attend the last class because I was transferred to federal custody a few days before it
was scheduled. There was a final homework assignment though, which I completed and took with me
when I was transferred to Santa Rita. As a side note, in Santa Rita there was a book called "the Buddha
and his Teachings." I spent much of my time in Santa Rita reading that book, and applying the
techniques there to my rudimentary meditation practices.

Oddly, when I was released to my parents and into the supervision of pre-trial services, there was some
fear. I had started to find tools that worked, tools that I was able to focus on and that gave me clarity
even when that clarity was painful in showing how deeply seated things were that I had to work on.
The fear was that it would be too easy to let that go, to feel like "I'm out now, this can all wait."

Instead of letting that happen, my first week out I made a priority of three things: 1) getting my
prescription of Prozac refilled (I got the prescription in San Mateo County, and was unable to even be
evaluated for it during my shorter stay in Santa Rita.) 2) Contacting, if possible, that Buddhist teacher,
and 3) Contacting the Enneagram Prison Project and turning in that last assignment.

I did all three, with happy results.

First, the Prozac, while not an answer in itself, does take the edge off my thoughts and feelings enough
that it is easier to work with and through them.

Second, that teacher (the Venerable Thubton Chodron) was more than willing to re-engage with me.
She has, since that class some 20 plus years ago, started a monastery in the United States and co-written
several books with the Dalai Lama. More relevantly, she started a program to help currently
incarcerated prisoners learn about and beneficially practice some of the Buddhist techniques and
insights. She has also co-written a book with one such prisoner who was convicted of sex crimes against
a child and is currently serving a federal sentence.

I was very open about my charges, and about what led me to seek her out again, and she has been more
than gracious in giving her time and insight as I work through all of this. That grace has shown up not
only in her personal time and correspondence, but in inviting me to participate in several virtual retreats
and weekly virtual teachings. Just as an example of how helpful this has been: A large part of the
tradition she teaches from entails "analytic meditation," where a very close and systematic look is given
to the real sources of our perceptions and our emotions. The first retreat I participated in was a retreat
applying this systematic approach to "Forgiveness and Guilt." Those thoughts that I described to my
      Case 3:20-cr-00126-VC             Document 45-1          Filed 05/11/21        Page 29 of 29



brother, that were too painful to even sit with for long, were the very thing I focused on in that retreat.
That form of meditation has become a daily and immensely useful practice for me, and I continue to
attend the virtual teachings and correspond with her.

Third, I looked up the Enneagram Prison Project online and contacted them. I got into touch with the
teachers I had met in San Mateo County and turned in that homework assignment, by way of fax. It
turns out that the Enneagram Prison Project has a weekly meeting (virtual currently because of Covid)
that serves as an extension of the classes on "the inside." Those weekly meetings are attended largely by
convicts who have served their sentence and found the program helpful both inside and outside prison.
Those convicts that I speak with weekly about all of this range from low level drug offenders to a man
who was serving 25 to life for kidnapping and murder. To be blunt, the discussions and exercises I find
there have been more directly relevant and honest and unvarnished than any more "traditional" therapy
session I had attended before. The program, approved by the state of California, also offers more
in-depth help and the equivalent of one-on-one sessions, which have been offered to me.

Finally, I also attend the weekly group sessions and weekly individual sessions with the HOPE program as
part of my pre-trial release agreement. The individual session especially is helpful. Because it gives an
opportunity to speak out loud some of the insights and revelations and difficulties that are uncovered in
those other programs and practices, the effectiveness of that individual session is increased immensely
by the other steps I am taking.

It is wrong to say that being arrested for the charges I was arrested for is a good thing. It is right to say
though that that arrest was a proper response by society to my actions. It is also right to say that I would
not have found this help, would not have found some of the internal freedom I am now finding, without
that arrest. While it may sound trite --I always thought it was, when I first heard inmates say similar
things-- I can honestly say that for finding these things I am actually grateful.

Whatever the future holds, these things described here will be a large part of it. Both because of that
gratitude and because they are part of a larger commitment: whatever the future looks like "externally,"
my life will be one that more clearly reflects my values, values this internal work helps me to clarify and
make real.

Respectfully,

Richard Hartman
